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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )             CASE NO. 8:04CR469
                                           )
                    Plaintiff,             )
                                           )                MEMORANDUM
             v.                            )                 AND ORDER
                                           )
JOSE GUSTAVO RUBIO,                        )
                                           )
                    Defendant.             )

      The defendant may be entitled to a reduction in sentence pursuant to 18 U.S.C. §

3582(c)(2) and General Order 2014-06 (“IN THE MATTER OF THE CASES WHERE

MOTIONS TO AMEND SENTENCES PURSUANT TO AMENDMENT 782 IN APPENDIX

C TO THE SENTENCING GUIDELINES MANUAL MAY BE FILED”). The defendant should

understand that I have made no determination whether the defendant is covered by the

Amendment or whether the defendant, if covered by the Amendment, should be given a

reduction. Those questions are yet to be determined. With the foregoing in mind,

      IT IS ORDERED that:


      1.     In light of the following, defendant’s pro se submission (Filing No. 115) is
             denied as moot;


      2.     The Federal Public Defender (or his nominee) is herewith appointed to
             represent the defendant. The Clerk’s office shall provide the Federal Public
             Defender and the defendant with a copy of this order. Appointed counsel
             shall promptly enter an appearance;


      3.     No later than October 28, 2014, the probation office shall file as a restricted
             (but not sealed) document and provide the undersigned and counsel of
             record with a “Retroactive Sentencing Worksheet.” If the officer requires
             additional time, a request may be made to the undersigned by e-mail. The
             Clerk’s office shall provide Mike Norton, Supervisory United States Probation
             Officer, with a copy of this Memorandum and Order; and
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     4.    No later than December 1, 2014, counsel of record shall confer and do one
           of the following:


           A.     File a stipulation signed by both counsel containing the
                  following provisions: (i) an agreement that the defendant is
                  eligible for a sentence reduction pursuant to 18 U.S.C. §
                  3582(c) and U.S.S.G. § 1B1.10; (ii) an agreement that the
                  defendant may be resentenced without being present and
                  without further notice; and (iii) an agreement regarding the
                  recommended sentence.


           B.     In lieu of the stipulation provided in paragraph A, counsel for
                  the government shall contact my judicial assistant and arrange
                  a telephone conference with the undersigned and counsel for
                  the defendant so that further progression of this case may be
                  scheduled.


     DATED this 29th day of August, 2014.

                                      BY THE COURT:


                                      s/Laurie Smith Camp
                                      Chief United States District Judge




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